Case 2:02-CV-02953-SHI\/|-STA Document 119 Filed 04/27/05 Page 1 of 2 Page|D 113

IN THE UNITED sTATES DISTRICT COURT n __ rs
FoR THE WESTERN I)ISTRICT 0F TENNESSEE 05 Ji"?’ m 11
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THOMAS & BETTS CORP., /:`J". 13le :" N;'j;_,v PH{§

Plaiotiff,
vs. No. 02-2953 Ma/An

HOSEA PROJECT MOVERS, LLC,

\_V\-/\p/\_¢\-/\\./\_d\_/W

Defendant.

 

ORDER RESETTING HEARING

 

Before the Court is Plaintiff’s Motion for Default Judgment and for Dismissal Of Hosea
Project Movers, LLC’s Counterclaim and for an Award of Attorneys Fees filed on February 4,
2005. United States District Judge Sarnuel H. Mays, Jr. referred this matter to the Magistrate
Judge for a Report and Reeommendation.

A hearing on this Motion is currently set to be held en April 27, 2005; however, it is
ORDERED that the hearing shall be rescheduled to occur before United States Magistrate Judge
S. Thornas Andersen 011 WEDNESDAY, MAY 4, 2005 at 10:45 A.M. in Courtroorn M-3, 9tli

Floor, F ederal Building, Memphis, Tennessee.

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S.THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: /Hi/ <77¢, ZOO~I/

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IT IS SO ORDERED.

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 119 in
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Honorable Samuel Mays
US DISTRICT COURT

